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SEALED

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA 2 nw
No. iC- 8 3G "

United States of America,

Plaintiff,
ORDER TO SEAL COMPLAINT

vs.
(Filed Under Seal)
Thomas William Hancock,

Defendant.

 

 

 

Based upon the United States of America’s Motion to Seal, and good cause
appearing,

IT IS ORDERED that the Complaint filed in this matter, the Motion to Seal and
this Order be filed under seal,

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DATED this__\® dayor A ug 3st

HONORABLE JOHN Z. BOYLE
United States Magistrate Judge

Cc: Won e.

 
